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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       *

      vs.                                      *      JKB-22-439

DAVID WARREN                                   *

      Defendant                                *

      UNOPPOSED MOTION TO EXTEND DEADLINE FOR FILING
                    PRETRIAL MOTIONS

      Defendant David Warren, by and through his attorneys, John M. McKenna,

Michael E. Lawlor, Adam C. Demetriou, and Brennan, McKenna & Lawlor, Chtd.,

respectfully requests that this Honorable Court continue the deadline for the filing

of pretrial motions in this case. In support of this Motion, counsel state the following.

      1.      On December 15, 2022, Mr. Warren, Mr. Olds, Mr. Harrison, Mr.

Prince, Mr. Duffy, and Mr. Jeffries were charged in a one-count Indictment with

racketeering conspiracy, in violation of 18 U.S.C. § 1962(d). (Indictment, ECF No.

1.) The Indictment alleges that beginning in or about 2014 and continuing through

the date of the Indictment, the defendants in this case conspired to participate in the

affairs of the Black Guerilla Family. The Indictment alleges 48 overt acts in

furtherance of the charged racketeering conspiracy, including several murders and

attempted murders.




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      2.      By an Order dated May 31, 2023, this Court established a non-Jencks

discovery deadline of July 17, 2023 and a deadline for the defendants to file pretrial

motions of October 30, 2023. (Order, ECF No. 77.) The Court also set a telephonic

scheduling conference for November 1, 2023 at 2:30 p.m. (Paperless Order, ECF

No. 80.)

      3.      At this time, Mr. Warren respectfully requests that this Court extend the

deadline for filing pretrial motions through November 30, 2023.

      4.      As discussed during the last scheduling conference with the Court on

May 18, 2023, the discovery in this case is voluminous. The Government has made

five discovery productions so far. The discovery materials include police reports and

files, DNA reports, laboratory results, bodyworn camera footage, surveillance

footage, recorded statements, search warrant materials, photographs, social media

materials, cell phone downloads, and other items. Earlier this month, the

undersigned counsel conferred with counsel for the Government on the status of

discovery. These conversations have been productive. The Government has

requested that counsel for all defendants return their discovery hard drives to the

United States Attorney’s Office in anticipation of another production. The

undersigned counsel have sent those drives to the Government.

      5.      In light of the volume of discovery produced so far and the forthcoming

production, Mr. Warren respectfully requests that this Court extend the deadline for


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the filing of pretrial motions through November 30, 2023. This extension will allow

the undersigned counsel to continue to review the discovery materials, discuss them

with Mr. Warren, and prepare pretrial motions.

      6.      The undersigned counsel have conferred with counsel for the other

defendants. As of the filing of this Motion, counsel for all defendants except for Mr.

Jeffries have indicated that they do not oppose the requested extension. The

undersigned counsel have not received a response from counsel for Mr. Jeffries.

      7.      The undersigned counsel have also conferred with Assistant United

State’s Attorney P.J. Martinez, who has indicated that the Government does not

oppose the requested extension.

      8.      Counsel for Mr. Harrison has indicated that he would like to maintain

the November 1, 2023 scheduling conference with the Court.

      9.      For these reasons, Mr. Warren respectfully requests that this Court

extend the deadline by which to file pretrial motions through November 30, 2023.

Mr. Warren respectfully requests that the Court maintain the November 1, 2023

telephone conference and schedule a further telephone conference in early December

2023, after motions have been filed.




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                                     Respectfully submitted,


                                        /s/
                                     ______________________
                                     John M. McKenna
                                     Michael E. Lawlor
                                     Adam C. Demetriou
                                     Brennan, McKenna & Lawlor, Chtd.
                                     6305 Ivy Lane, Suite 700
                                     Greenbelt, Maryland 20770
                                     (301) 474-0044
                                     jmckenna@brennanmckenna.com


                          CERTIFICATE OF SERVICE

      I hereby certify that on this day, October 13, 2023, a copy of the foregoing

sent via ECF to all parties.


                                          /s/
                                     ______________________
                                     John M. McKenna




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